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                     In the United States District Court
                     For the Northern District of Texas
                              Dallas Division

John T. Lamont and Preston              §
Poulter                                 §
      Plaintiffs                        §
                                        §         No. 3:21-cv-1176-K-BN
v.                                      §
                                        §
Dean Assaf et al.                       §
     Defendants                         §


     Order Denying Defendant Ethan Van Sciver’s Motion to Dismiss
                             [Doc. 19]


      After considering Defendant Ethan Van Sciver’s Motion to Dismiss

(Doc. 19), the briefing, the arguments of counsel, and the relevant and

admissible evidence, the Court has determined that:

      _____ the motion should be and is hereby DENIED.

      _____ the motion will be granted, but Plaintiffs are granted leave to file

a motion to transfer this case to another district within 15 days of the date of

this order.

      IT IS SO ORDERED.




                                            JUDGE PRESIDING




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